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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION

BETTY HACKLEY,

   Plaintiff,

-vs-

SEVENTH AVENUE, INC.,
                                                      CASE NO.: 3:17-CV-01410-HES-JBT
   Defendant.
                                         /

                                   NOTICE OF PENDING SETTLEMENT

        Plaintiff, Betty Hackley, by and through the undersigned counsel, hereby notifies the Court that

the parties have reached a negotiated resolution with regard to this case and are presently drafting and

finalizing the proposed settlement agreement and general release. Upon execution of the same, the parties

will file the appropriate dismissal documents with the Court.

                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

all counsel of record via e-mail through the CM/ECF system on this 1st day of May, 2018.



                                                         s/ Shaughn C. Hill
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